
The Court, after mature examination of the Law, and free conference, gave the following opinion :
“A majority of the Court is of opinion, that the prisoner, may be legally tried, and a verdict may be found against him, before the principal, Throp, had received judgment, or been adjudged by the Court guilty on the verdict.”
[In this opinion, Judges Holmes, Johnston, Randolph, G. Parker, and R. L. Parker, concurred ; the others dissented.]
“The Court is further unanimously of opinion, that the verdict in this Case is erroneous, because the jury have not decided on the degree of the prisoner’s offence, by determining whether the prisoner was guilty as accessary to the murder in the first or second degree ; and as the said verdict was not such an one as ought to have been received by the Court, it ought, therefore, to be set aside, and a venire facias de novo awarded.”
